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                        UNITED STATES COURT OF APPEALS                      FILED
                               FOR THE NINTH CIRCUIT                         JUL 23 2020
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
MAX ZWEIZIG,                                        No.   18-35991

                    Plaintiff-Appellee,             D.C. No. 3:15-cv-02401-HZ
                                                    District of Oregon,
 v.                                                 Portland

TIMOTHY C. ROTE,                                    ORDER

                    Defendant-Appellant,

and

NORTHWEST DIRECT TELESERVICES,
INC.; et al.,

                    Defendants.

Before: WOLLMAN,* FERNANDEZ, and PAEZ, Circuit Judges.

         The full court has been advised of the petition for rehearing en banc and no

judge has requested a vote on whether to rehear the matter en banc. Fed. R. App.

P. 35.

         The petition for rehearing en banc is DENIED.




         *
            The Honorable Roger L. Wollman, United States Circuit Judge for the
U.S. Court of Appeals for the Eighth Circuit, sitting by designation.
